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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) JAMES D. BUCHANAN,                       )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )         Case No.:   18-CV-171-RAW
                                             )
(1) TURN KEY HEALTH CLINICS, LLC,            )         Jury Trial Demanded
(2) ROB FRAZIER, in his official capacity as )
Muskogee County Sheriff,                     )       Attorney Lien Claimed
(3) BOARD OF COUNTY COMMISSIONERS )
OF MUSKOGEE COUNTY,                          )
(4) DR. COOPER, and                          )
(5) KATIE MCCULLAR, LPN,                     )
                                             )
       Defendants.                           )

                                    COMPLAINT

    COMES NOW, Plaintiff James D. Buchanan (“Plaintiff” or “Mr. Buchanan”), and

for his causes of action against the above-named Defendants, alleges and states the

following:

                     PARTIES, JURISDICTION AND VENUE

   1. Plaintiff is a citizen of Oklahoma.

   2. Defendant Turn Key Health Clinics, LLC (“TURN KEY”) is an Oklahoma limited

      liability company doing business in Muskogee County, Oklahoma. TURN KEY is

      a private correctional health care company that contracts with counties, including

      Muskogee County, to provide medical professional staffing, supervision and care in

      county jails. TURN KEY was at all times relevant hereto responsible, in part, for

      providing medical services, supervision and medication to Mr. Buchanan while he

      was in the custody of the Muskogee County Sheriff’s Office (“MCSO”). TURN

      KEY was additionally responsible, in part, for creating and implementing policies,
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    practices and protocols that govern the provision of medical and mental health care

    to inmates at the Muskogee County Jail, and for training and supervising its

    employees. TURN KEY was, at all times relevant hereto, endowed by Muskogee

    County with powers or functions governmental in nature, such that TURN KEY

    became an agency or instrumentality of the State and subject to its constitutional

    limitations.

 3. Defendant Rob Frazier (“Sheriff Frazier” or “Defendant Frazier”) is the Sheriff of

    Muskogee County, Oklahoma, residing in Muskogee County, Oklahoma and

    acting under color of state law. Sheriff Frazier is sued purely in his official capacity.

    It is well-established, as a matter of Tenth Circuit authority, that a § 1983 claim

    against a county sheriff in his official capacity “is the same as bringing a suit against

    the county.” Martinez v. Beggs, 563 F.3d 1082, 1091 (10th Cir. 2009). See also Porro v.

    Barnes, 624 F.3d 1322, 1328 (10th Cir. 2010); Bame v. Iron Cnty., 566 F. App'x 731,

    737 (10th Cir. 2014). Thus, in suing Sheriff Frazier in his official capacity, Plaintiff

    has brought suit against the County/MCSO.

 4. Defendant Board of County Commissioners of Muskogee County (“BOCC” or the

    “County”) is a statutorily-created governmental entity. 57 Okla. Stat. § 41 provides

    that “[e]very county, by authority of the board of county commissioners and at the

    expense of the county, shall have a jail or access to a jail in another county for the

    safekeeping of prisoners lawfully committed.” (emphasis added). BOCC must discharge

    its responsibilities to the Muskogee County Jail in a constitutional manner. BOCC

    is properly sued under the provision of the Oklahoma Governmental Tort Claims

    Act.



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 5. Defendant “Dr. Cooper” was at all times relevant hereto, an employee and/or

    agent of TURN KEY/the County/MCSO, who was, in part, responsible for

    overseeing Mr. Buchanan’s health and well-being; and assuring that Mr.

    Buchanan’s medical/mental health needs were met, during the time he was in the

    custody of MCSO. At all times pertinent, Dr. Cooper was acting within the scope

    of his/her employment and under color of state law. Dr. Cooper is being sued in

    his/her individual capacity.

 6. Defendant Katie McCullar, LPN (“Nurse McCullar”), was, at all times relevant

    hereto, an employee and/or agent of TURN KEY/MCSO, who was, in part,

    responsible for overseeing Mr. Buchanan’s health and well-being; and assuring that

    Mr. Buchanan’s medical/mental health needs were met, during the time he was in

    the custody of MCSO. At all times pertinent, Nurse McCullar was acting within

    the scope of her employment and under color of state law. Nurse McCullar is being

    sued in her individual capacity.

 7. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343 to secure

    protection of and to redress deprivations of rights secured by the Eighth and

    Fourteenth Amendments to the United States Constitution as enforced by 42

    U.S.C. § 1983, which provides for the protection of all persons in their civil rights

    and the redress of deprivation of rights under color of law.

 8. The jurisdiction of this Court is also invoked under 28 U.S.C. § 1331 to resolve a

    controversy arising under the Constitution and laws of the United States,

    particularly the Eighth and Fourteenth Amendments to the United States

    Constitution and 42 U.S.C. § 1983.



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 9. This Court has supplemental jurisdiction over the state law claims asserted herein

    pursuant to 28 U.S.C. § 1367, since the claims form part of the same case or

    controversy arising under the United States Constitution and federal law.

 10. Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events

    or omissions giving rise to Plaintiff’s claims occurred in this District.

                            STATEMENT OF FACTS

 11. Paragraphs 1-10 are incorporated herein by reference.

 12. On or about September 16, 2016, Mr. Buchanan, while riding a bicycle, was hit by

    an automobile and sustained multisystem trauma. He was hospitalized over the

    course of approximately six (6) weeks due to his injuries which included fractures to

    the spine requiring multiple surgical interventions. He was discharged from Saint

    John Medical Center on or about October 30, 2016. Upon discharge from Saint

    John, Mr. Buchanan was ambulatory.

 13. On November 3, 2016, Mr. Buchanan was booked into the Muskogee County Jail

    (“Jail”). Upon booking, Mr. Buchanan reported to the booking personnel employed

    by the Muskogee County Sheriff’s Office (“MCSO”) and Turn Key Health Clinics,

    LLC (“Turn Key”) that he had been in a motor vehicle accident on September 16,

    2016. Mr. Buchanan further advised MCSO and Turn Key personnel that he was

    taking pain medication and that he was suffering from broken ribs, a collapsed

    lung, “burnt fingers” and neck problems. The Turn Key booking nurse

    additionally observed that Mr. Buchanan was having increased discomfort with

    movement.

 14. Based on his intake screening alone, it was clear that Mr. Buchanan required an



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    immediate referral to a physician and close medical monitoring. Nonetheless, and

    in spite of his serious medical history and acute injuries, the responsible MCSO and

    Turn Key personnel failed to place Mr. Buchanan in an area of the Jail for more

    frequent observation and provided him with no medical care or monitoring. He

    was not set for an appointment with a physician. Mr. Buchanan was not provided

    with a medical examination. He was provided with no diagnostic testing. Rather,

    and with negligence and deliberate indifference, MCSO and Turn Key personnel

    placed Mr. Buchanan in a general population pod with no medical treatment or

    assessment plan in place.

 15. For a period of over ten (10) days Mr. Buchanan languished at the Jail. Mr.

    Buchanan’s condition began to rapidly deteriorate.         During this time, Mr.

    Buchanan received no medical attention whatsoever.

 16. By November 4, 2016, just one day into his stay at the Jail, Mr. Buchanan had

    completely lost the ability to move his left arm.

 17. “Dr. Cooper” was notified of Mr. Buchanan’s sudden paralysis on November 4, but

    did not see Mr. Buchanan, schedule him for an appointment or order that he be

    sent to a hospital.

 18. By November 8, 2016, Mr. Buchanan had lost all mobility in his right

    arm.

 19. By as early as November 4, the pain in Mr. Buchanan’s neck and extremities

    became unbearable. Mr. Buchanan complained to MCSO and/or Turn Key staff

    for days about the pain, decreased mobility and paralysis. Indeed, it was obvious,

    by November 4, that Mr. Buchanan was suffering from paralysis. These were signs

    of a serious, emergent and potentially life-threatening medical problem.

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 20. It is well-established that “paralysis is such an uncommon, serious, and

    traumatic event that even someone without any medical training would

    … recognize[] the situation as requiring immediate care by a

    doctor.” Fields v. Corizon Health, Inc., 490 F. App'x 174, 184 (11th Cir. 2012)

    (emphasis added) (citing Simmons v. Cook, 154 F.3d 805, 808 (8th Cir.1998) (noting

    that being wheelchair bound is a serious medical need to which even laymen are

    aware); Blackmore v. Kalamazoo Cnty., 390 F.3d 890, 897 (6th Cir.2004)

    (quoting Taylor v. Franklin Cnty., 104 Fed.Appx. 531, 538 (6th Cir.2004)) (“Such

    obvious signs of reoccurring incontinence and debilitating immobility were clear

    symptoms of a serious problem, even if Defendants did not choose to believe

    Plaintiff.”)).

 21. Thus, by November 4, when Mr. Buchanan first displayed signs of paralysis it was

    obvious, even to a layperson, without any medical training, that he was in need of

    immediate care by a physician. And by November 8, 2016, at the latest, when Mr.

    Buchanan lost all mobility in his right arm, it was obvious, even to a layperson, that

    he required immediate transport to the nearest emergency room.          However, in

    deliberate indifference to Mr. Buchanan’s serious medical needs, he did not see a

    doctor on November 4, after he lost movement of his left arm, and he was not sent

    to an emergency room (or seen by a doctor) on November 8, when he developed

    paralysis in his right arm.

 22. Responsible MCSO and Turn Key detention and medical staff disregarded known,

    obvious and substantial risks to Mr. Buchannan’s health and safety. And Mr.

    Buchannan suffered severe and unnecessary pain, a worsening of his condition, and

    life-altering and permanent injuries as a proximate result of this deliberate

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    indifference.

 23. Mr. Buchanan was developing a cervical epidural abscess infection, and his

    condition deteriorated to the point that he became immobile. After losing the use

    of his arms, Mr. Buchanan needed assistance with basic life activities, such as

    feeding, hydration and toileting. As other inmates started to assist Mr. Buchanan

    with his everyday life needs (such as feeding and hydration), MCSO and Turn Key

    staff could not be bothered to provide him with any assistance. He was still not

    provided with any medical care or evaluation, as he deteriorated before the MCSO

    and Turn Key staff’s eyes.

 24. From November 8 through November 13, 2016, Mr. Buchanan laid in his cell with

    full paralysis of both arms, in extreme and worsening pain, and without the ability

    to feed or hydrate himself. Still, with deliberate indifference and reckless neglect,

    responsible MCSO and Turn Key staff provided no medical evaluation, referral,

    care or treatment to Mr. Buchanan. No one at the Jail even took Mr. Buchanan’s

    vital signs. They did nothing as Mr. Buchanan edged closer and closer to the point

    of no return.

 25. By November 13, 2016, Mr. Buchanan had lost all movement of his

    bilateral lower extremities. Thus, by November 13, Mr. Buchanan had

    paralysis of both arms and both legs. Mr. Buchanan complained to MCSO and

    Turn Key staff that he was completely paralyzed and in need of medical attention.

    Yet, even when Mr. Buchanan suffered paralysis of all four limbs, MCSO and Turn

    Key staff did not send him to the hospital, assure that he saw a physician, or provide

    any other medical care, supervision or referral, in deliberate indifference to Mr.

    Buchanan’s serious medical needs.

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 26. As of November 13, after becoming quadriplegic at the Jail, Mr. Buchanan had yet

    to even see a physician.

 27. At approximately 11:27 a.m. on November 14, 2016, Mr. Buchanan was finally

    seen by a nurse at the Jail. The nurse, Defendant Katie McCullar, LPN, noted that

    Mr. Buchanan “could not walk” and “complained of worsening pain and

    inability to move lower extremities…” Despite this dire situation, the nurse

    did not send Mr. Buchanan to the hospital. Instead, she called “Dr. Cooper” and

    advised him/her of Mr. Buchanan’s condition. Amazingly, however, Dr. Cooper

    did not order immediate transportation to the hospital, either, in spite of the obvious

    need. Rather, Dr. Cooper placed Mr. Buchanan on the “provider list for the

    upcoming week…” With deliberate indifference and reckless neglect, Nurse

    McCullar and Dr. Cooper then left Mr. Buchanan paralyzed in his general

    population cell.

 28. Approximately nine (9) hours later, at around 8:10 p.m. on November 14,

    another nurse (whose name is illegible in the records) saw Mr. Buchanan in his

    general population pod. Mr. Buchanan was still unable to walk and his pain level

    had increased to “10” on a scale from one to ten. Mr. Buchanan had lost control

    of his bodily functions and was lying in his own urine. Only now did Dr. Cooper

    decide to send Mr. Buchanan to the hospital. But it was too late.

 29. The nine (9) hour delay in sending Mr. Buchanan to the hospital is yet another

    example of deliberate indifference to his serious medical needs (by Dr. Cooper and

    Nurse McCullar) which resulted in unnecessary pain and a worsening of his

    condition.

 30. After his admission to Hillcrest Medical Center, Mr. Buchanan was diagnosed with

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    quadriplegia and a cervical epidural abscess.        A cervical epidural abscess is

    essentially a collection of pus (infected material) and germs between the outer

    covering of the brain and spinal cord and the bones of the spine or neck. He

    required admission to the ICU and multiple invasive surgeries.

 31. As noted by Clinton Baird, M.D., a spinal surgeon,

    [Mr. Buchanan] is a 54-year-old gentleman who had a very complicated
    history… [H]e was involved in being struck by a car while riding bicycle
    several weeks ago. … He ended up finding himself in jail and it was
    during this time in jail that he had very significant clinical deterioration
    in his neurologic status. [I]t is obvious that he likely developed the
    beginnings of cervical epidural abscess infection in result of his critical
    illness [and] hospitalization, but then while in jail, he deteriorated
    significantly and his clinical deterioration went unrecognized and
    untreated until he was nearly completely quadriplegic.

    (emphasis added).

 32. On November 15, 2016, Dr. Baird performed a spinal surgery on Mr. Buchanan.

    However, the damage had already been done. Mr. Buchanan remained paralyzed.

    To this day, Mr. Buchanan is confined to a wheelchair and needs assistance with

    everyday life activities. He is permanently disabled. He will need significant and

    costly assistance and services for the remainder of his life. His injuries and damages,

    resulting from deliberate indifference from Dr. Cooper, Nurse McCullar and other

    MCSO and Turn Key staff, as described above, are substantial, permanent and

    continuing.

 33. The deliberate indifference to Mr. Buchanan’s serious medical needs, as

    summarized supra, was in furtherance of and consistent with policies, customs

    and/or practices which the County/MCSO and TURN KEY promulgated,

    created, implemented or possessed responsibility for the continued operation of.

 34. In recent years, Defendant Turn Key has grown into the largest private medical

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    care provider to county jails in the state. Turn Key has used its political connections

    to obtain contracts in a number of counties, including Muskogee County, Tulsa

    County, Garfield County and Creek County.

 35. Turn Key and the contracting counties, including Muskogee County, utilize

    common industry cost-cutting techniques which create financial disincentives to

    send inmates to outside medical facilities. Under the contractual arrangements

    between Turn Key and the counties, there is a financial cap on the amount that can

    be spent on outside medical care, and any amount over this cap is incurred by Turn

    Key. Thus, the less inmates are sent to the emergency room, or other outside

    medical provider, the more money Turn Key pockets.

 36. Turn Key also has a policy, practice or custom of understaffing county jails,

    including the Muskogee County Jail, with undertrained and underqualified medical

    personnel who are ill-equipped to evaluate, assess, supervise, monitor or treat

    inmates, like Mr. Buchanan, with complex and serious medical needs.

 37. In addition, MCSO has utterly failed to train its detention staff in how to properly

    care for or supervise inmates, like Mr. Buchanan, with complex or serious medical

    needs, with deliberate indifference to the health and safety of those inmates.

 38. Turn Key has no protocol or clear policy with respect to the medical monitoring

    and care of inmates with complex or serious medical needs, and provides no

    guidance to its medical staff regarding the appropriate standards of care with

    respect to inmates with complex or serious medical needs.

 39. Turn Key’s inadequate or non-existent policies and customs were a moving force

    behind the constitutional violations and injuries alleged herein.

 40. Turn Key’s corporate policies, practices and customs as described supra, have

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    resulted in deaths or negative medical outcomes in numerous cases, in addition to

    Mr. Buchanan’s.

 41. For instance, in June 2016, a nurse who worked for Turn Key at the Garfield

    County Jail allegedly did nothing to intervene while a hallucinating man was kept

    in a restraint chair for more than 48 hours. That man, Anthony Huff, ultimately

    died restrained in the chair.

 42. An El Reno man died in 2016 after being found naked, unconscious and covered

    in his own waste in a cell at the Canadian County Detention Center, while

    ostensibly under the care of Turn Key medical staff. The Office of the Chief

    Medical Examiner found the man had experienced a seizure in the days before his

    death.

 43. A man in the Creek County Jail, also under the purported “care” of Turn Key, died

    in September 2016 from a blood clot in his lungs after his repeated complaints --

    over several days -- of breathing problems were disregarded by responsible staff,

    and he lost consciousness.

 44. And another man, Michael Edwin Smith, encountered deliberate indifference to

    his serious medical needs at the Muskogee County Jail in the summer of 2016. Mr.

    Smith’s experience at the Jail was eerily similar to Mr. Buchanan’s. Like Mr.

    Buchanan, Mr. Smith became permanently paralyzed after Jail staff failed to

    provide him medical treatment after he repeatedly complained of severe pain in his

    back and chest, as well as numbness and tingling. Smith claims that cancer spread

    to his spine, causing a dangerous spinal compression, a condition that can cause

    permanent paralysis if left untreated. Smith asserts that he told the Turn Key-

    employed physician at the Jail that he was paralyzed, but the physician laughed at

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    Smith and told him he was faking. For a week before he was able to bond out of

    Jail, Smith was kept in an isolation cell on his back, paralyzed, unable to walk, bathe

    himself or use the bathroom on his own. He lay in his own urine and feces because

    Jail staff told Smith he was faking paralysis and refused to help him.

 45. Mr. Smith’s unconstitutional mistreatment put Turn Key, MCSO and the County

    on notice that the medical care and supervision provided by Turn Key and the

    detention staff was wholly inadequate and placed inmates like Mr. Buchanan at

    excessive risk of harm. However, MCSO and the County failed to alleviate the

    known and obvious risks in deliberate indifference to the rights of inmates like Mr.

    Buchanan.

 46. Turn Key has maintained a custom of inadequate medical care at a corporate level

    which poses excessive risks to the health and safety of inmates like Mr. Buchanan.

 47. Prior to filing this Complaint, Buchanan sent notice to Muskogee County pursuant

    to the Oklahoma Governmental Tort Claims Act (“GTCA”), 51 O.S. § 156. Ninety

    (90) days have passed since that time and Defendant has not approved Buchanan’s

    claim in its entirety. Buchanan has filed a timely claim against Defendants within

    180 days of the constructive denial date of the GTCA Claim Notice. Therefore, this

    action is timely brought pursuant to 51 O.S. § 157.

                              CAUSES OF ACTION

     CRUEL AND UNUSUAL PUNISHMENT IN VIOLATION OF THE
     EIGHTH AND/OR FOURTEENTH AMENDMENT(S) TO THE
           CONSTITUTION OF THE UNITED STATES
                     (42 U.S.C. § 1983)

 48. Paragraphs 1-47 are incorporated herein by reference.

    A. Underlying Violations of Constitutional Rights


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 49. Defendants Dr. Cooper, Nurse McCullar (and other agents of MCSO and/or

    TURN KEY as described above, but who cannot yet be identified by name) knew

    there was a strong likelihood that Mr. Buchanan was in danger of serious personal

    harm due to his recent medical history, complaints of a collapsed lung, broken ribs,

    his progressing and worsening paralysis, his inability to perform everyday life

    functions without assistance and his inability to walk. As described supra, Buchanan

    had serious and emergent medical issues that were known and obvious to these

    Defendants and other unnamed MCSO and Turn Key employees/agents. For a

    period of many days, it was obvious that Mr. Buchanan needed immediate and

    emergent evaluation and treatment in an emergency room setting, but such services

    were denied, delayed and obstructed. Defendants Dr. Cooper, Nurse McCullar

    (and other agents of MCSO and/or TURN KEY as described above, but who

    cannot yet be identified by name) disregarded the known, obvious and substantial

    risks to Mr. Buchanan’s health and safety.

 50. Mr. Buchanan voiced his complaints and concerns of an emergent and life-

    threatening condition repeatedly over the course of his custody. And through his

    progressing and worsening paralysis, it was obvious, even to a layperson with no

    medical training, that Mr. Buchanan was in need of immediate and emergent

    medical attention from a qualified professional. Any person of reasonable prudence

    would determine that Plaintiff was at a serious risk for a greater injury that would

    require immediate evaluation and treatment outside of a correctional setting.

 51. Mr. Buchanan’s injuries and medical condition sharply and obviously deteriorated

    under the care of MCSO and TURN KEY staff.

 52. However, Defendants Dr. Cooper, Nurse McCullar (and other agents of MCSO

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    and/or TURN KEY as described above, but who cannot yet be identified by name)

    repeatedly disregarded the known and obvious risks to Mr. Buchanan’s health and

    safety. As documented herein, Defendants Dr. Cooper, Nurse McCullar (and other

    agents of MCSO and/or TURN KEY as described above, but who cannot yet be

    identified by name) did nothing as the state of Mr. Buchanan’s injuries grew more

    severe and his health declined.

 53. As a direct and proximate result of Defendants Dr. Cooper, Nurse McCullar (and

    other agents of MCSO and/or TURN KEY as described above, but who cannot

    yet be identified by name) conduct, Mr. Buchanan experienced unnecessary

    physical pain, a worsening of his condition, severe emotional distress, mental

    anguish, a loss of quality and enjoyment of life, terror, degradation, oppression,

    humiliation, embarrassment, as well as hospital, surgical and other medical

    expenses.

 54. As a direct and proximate result of Defendants’ conduct Mr. Buchanan has suffered

    damages and is entitled to pecuniary and compensatory damages. Mr. Buchanan is

    entitled to damages due to the Defendant’s deprivation of his rights secured by the

    U.S. Constitution.

    B. Municipal/“Monell” Liability (TURN KEY)

 55. Paragraphs 1-54 are incorporated herein by reference.

 56. TURN KEY is a “person” for purposes of 42 U.S.C. § 1983.

 57. At all times pertinent hereto, TURN KEY was acting under color of state law.

 58. TURN KEY has been endowed by Muskogee County with powers or functions

    governmental in nature, such that TURN KEY became an instrumentality of the

    State and subject to its constitutional limitations.

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 59.TURN KEY is charged with implementing and assisting in developing the policies

    of MCSO with respect to the medical and mental health care of inmates at the

    Muskogee County Jail and has shared responsibility to adequately train and

    supervise its employees.

 60.In addition, TURN KEY implements, maintains and imposes its own corporate

    policies, practices, protocols and customs at the Jail.

 61.There is an affirmative causal link between the aforementioned acts and/or

    omissions of Defendants Dr. Cooper, Nurse McCullar (and other agents of MCSO

    and/or TURN KEY as described above, but who cannot yet be identified by name)

    in being deliberately indifferent to Mr. Buchanan’s serious medical needs, health,

    and safety, and the above-described customs, policies, and/or practices carried out

    by TURN KEY (See, e.g., ¶¶ 33-46, supra).

 62.TURN KEY knew (either through actual or constructive knowledge), or it was

    obvious, that these policies, practices and/or customs posed substantial risks to the

    health and safety of inmates like Mr. Buchanan. Nevertheless, TURN KEY failed

    to take reasonable steps to alleviate those risks, in deliberate indifference to inmates’,

    including Buchanan’s, serious medical needs.

 63.TURN KEY tacitly encouraged, ratified, and/or approved of the acts and/or

    omissions alleged herein.

 64.There is an affirmative causal link between the aforementioned customs, policies,

    and/or practices and Plaintiff’s injuries and damages as alleged herein.

    C. Official Capacity Liability (Sheriff Frazier)

 65.Paragraphs 1-64 are incorporated herein by reference.



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 66.The aforementioned acts and/or omissions of Defendants Dr. Cooper, Nurse

    McCullar (and other agents of MCSO and/or TURN KEY as described above,

    but who cannot yet be identified by name) in being deliberately indifferent to Mr.

    Buchanan’s health and safety and violating Mr. Buchanan’s civil rights are causally

    connected with customs, practices, and policies which the County/MCSO

    promulgated, created, implemented and/or possessed responsibility for.

 67.Such policies, customs and/or practices are specifically set forth in paragraphs 33-

    46, supra.

 68.The County/MCSO, through its continued encouragement, ratification, approval

    and/or maintenance of the aforementioned policies, customs, and/or practices; in

    spite of their known and obvious inadequacies and dangers; has been deliberately

    indifferent to inmates’, including Mr. Buchanan’s, health and safety.

 69.As a direct and proximate result of the aforementioned customs, policies, and/or

    practices, Mr. Buchanan suffered injuries and damages as alleged herein.

                                    NEGLIGENCE
                                     (TURN KEY)

 70.Paragraphs 1-69 are incorporated herein by reference.

 71.TURN KEY is vicariously liable for the acts of its employees and/or agents under

    the doctrine of respondeat superior.

 72.TURN KEY, through its employees and/or agents at the Muskogee County Jail,

    owe a duty to Buchanan, and all other inmates incarcerated at the Muskogee

    County Jail, to tender medical treatment with reasonable care, taking caution not

    to cause additional harm during the course of medical treatment.




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     73. As described herein, TURN KEY, through its employees and/or agents, breached

        its duty to Buchanan, by failing to provide competent and timely medical treatment

        as required by applicable standards of care, custom and law.

     74. TURN KEY staff failed to provide adequate or timely evaluation and treatment,

        even as Mr. Buchanan’s known medical condition deteriorated and even though he

        had specifically requested medical attention while in MCSO’s custody. Agents

        and/or employees of TURN KEY, failed to reasonably or timely treat Mr.

        Buchanan’s serious medical condition, and prevented his timely transfer to a

        medical facility for emergent care.

     75. TURN KEY’s negligence is the direct and proximate cause of Mr. Buchanan’s

        physical pain, severe emotional distress, mental anguish, loss of his health, and the

        damages alleged herein.

     76. As a result of Defendants’ negligence, Mr. Buchanan has suffered damages.

                     Violation of Article II § 9 and Article II § 7 of the
                          Constitution of the State of Oklahoma
                           (BOCC, TURN KEY and/or Frazier)

     77. Paragraphs 1-76 are incorporated herein by reference.

     78. Article II § 9 of the Oklahoma Constitution prohibits the infliction of cruel and

        unusual punishment. Under the Oklahoma Constitution’s Due Process Clause,

        Article II § 7, the right to be free from cruel and unusual punishment extends to

        pre-trial detainees who have yet to be convicted of a crime (in addition to convicted

        prisoners who are clearly protected under Article II § 9).1



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       It is clearly established, as a matter of federal law, that pretrial detainees, who have
not been convicted of a crime, have a constitutional right to medical and psychiatric care
under the Due Process Clause of the Fourteenth Amendment at least as protective as for
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   79. The Constitution of the State of Oklahoma, under Article II § 9 and Article II § 7,

       provides a private right of action for Mr. Buchanan to be free from cruel and

       unusual punishment, which includes protection from the denial of needed medical

       care while in custody.

   80. As described herein, Mr. Buchanan, while in the custody of MCSO, and under the

       care of TURN KEY, was denied necessary medical treatment. Defendants Dr.

       Cooper, Nurse McCullar (and other agents of MCSO and/or TURN KEY as

       described above, but who cannot yet be identified by name) violated Mr.

       Buchanan’s rights by failing to provide him with prompt and adequate medical

       assessment, evaluation, treatment and supervision despite the obvious need.

   81. At all times relevant, Defendants Dr. Cooper, Nurse McCullar (and other agents of

       MCSO and/or TURN KEY as described above, but who cannot yet be identified

       by name) were acting within the scope of their employment and under the

       supervision of and ultimate control of BOCC/TURN KEY/MCSO.

   82. Defendants Dr. Cooper, Nurse McCullar (and other agents of MCSO and/or

       TURN KEY as described above, but who cannot yet be identified by name) denial,

       delay and obstruction of medical care and treatment to Mr. Buchanan violated

       Article II §§ 7 and 9 of the Constitution of the State of Oklahoma and was a direct

       and proximate cause of Mr. Buchanan’s injuries and the damages alleged herein.

   83. BOCC, TURN KEY and/or Sheriff Frazier are vicariously liable for the violations

       of the Oklahoma Constitution by employees and agents acting within the scope of

       their employment.


convicted prisoners. See Bell v. Wolfish, 441 U.S. 520, 545 (1979); Martin v. Bd. of County
Com'rs of County of Pueblo, 909 F.2d 402, 406 (10th Cir. 1990).
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      WHERFORE, based on the foregoing, Plaintiff prays this Court grant him the relief

sought, including but not limited to actual and punitive damages (for reckless disregard of

his rights) in excess of Seventy-Five Thousand Dollars ($75,000.00), with interest accruing

from the date of filing suit, the costs of bringing this action, a reasonable attorneys’ fee,

along with such other relief as is deemed just and equitable.

                                              Respectfully submitted,

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